                                                                                                                                Case 3:23-cv-02934-TSH Document 9 Filed 06/27/23 Page 1 of 3




                                                                                                                       1 TYLER R. DOWDALL, State Bar No. 258950
                                                                                                                           tdowdall@tarterkrinsky.com
                                                                                                                       2 TARTER KRINSKY & DROGIN LLP
                                                                                                                           2029 Century Park East, Suite 400N
                                                                                                                       3 Los Angeles, California 90067-2512
                                                                                                                           Telephone: (424) 330-8580
                                                                                                                       4 Facsimile:   (315) 512-1465
                                                                                                                       5 Attorneys for Plaintiff Point B, Inc.
                                                                                                                       6
                                                                                                                       7
                                                                                                                       8                                 UNITED STATES DISTRICT COURT
                                                                                                                       9                              NORTHERN DISTRICT OF CALIFORNIA
                                                                                                     (315) 512-1465
    D RO GI N L LP




                                                                                                                      10
                                                                LOS ANGELES, CALIFORNIA 90067-2512




                                                                                                                      11 POINT B, INC,                                          CASE NO. 3:23-cv-02934-TSH
                           2029 CENTURY PARK EAST, SUITE 400N




                                                                                                                      12                      Plaintiff,                        PLAINTIFF’S CERTIFICATE OF
                                                                                                     FACSIMILE




                                                                                                                                                                                INTERESTED ENTITIES OR
                                                                                                                      13            v.                                          PERSONS
T AR TE R K R I NS K Y &




                                                                                                                      14 TWITTER, INC., and Does 1 – 20,
                                                                                                     •




                                                                                                                           inclusive,
                                                                                                     (424) 330-8580




                                                                                                                      15
                                                                                                                                              Defendants.
                                                                                                                      16
                                                                                                                      17
                                                                                                     TELEPHONE




                                                                                                                      18
                                                                                                                      19
                                                                                                                      20
                                                                                                                      21
                                                                                                                      22
                                                                                                                      23
                                                                                                                      24
                                                                                                                      25
                                                                                                                      26
                                                                                                                      27
                                                                                                                      28
                                                                                                                                                                                                                                   .
                                                                                                                                                   PLAINTIFF’S CERTIFICATE OF INTERESTED ENTITIES OR PERSONS
                                                                                                                                                                                                      Case No. 3:23-cv-02934-TSH
                                                                                                                           090321\4\170270220.v1
                                                                                                                                Case 3:23-cv-02934-TSH Document 9 Filed 06/27/23 Page 2 of 3




                                                                                                                       1    PLAINTIFF’S CERTIFICATE OF INTERESTED ENTITIES OR PERSONS
                                                                                                                       2            Pursuant to Civil L.R. 3-15, the undersigned certifies that the following listed
                                                                                                                       3 persons, associations of person, firms, partnerships, corporations, or other entities (i)
                                                                                                                       4 have a financial interest in the subject matter in controversy or in a party to the
                                                                                                                       5 proceeding, or (ii) have a non-financial interest in that subject matter or in a party
                                                                                                                       6 could be substantially affected by the outcome of this proceeding:
                                                                                                                       7            1.        Point B, Inc. – Plaintiff, financial interest;
                                                                                                                       8            2.        Twitter, Inc. – Defendant, financial interest; and
                                                                                                                       9            3.        Elon Musk – CEO Twitter, financial interest.
                                                                                                     (315) 512-1465
    D RO GI N L LP




                                                                                                                      10
                                                                                                                           DATED: June 27, 2023                         Respectfully submitted,
                                                                                                                      11
                                                                LOS ANGELES, CALIFORNIA 90067-2512
                           2029 CENTURY PARK EAST, SUITE 400N




                                                                                                                      12                                                By:         /s/ Tyler R. Dowdall
                                                                                                     FACSIMILE




                                                                                                                                                                              TYLER R. DOWDALL (SBN 258950)
                                                                                                                      13
                                                                                                                                                                              tdowdall@tarterkrinsky.com
T AR TE R K R I NS K Y &




                                                                                                                      14                                                      TARTER KRINSKY & DROGIN LLP
                                                                                                     •




                                                                                                                                                                              2029 Century Park E, Suite 400
                                                                                                     (424) 330-8580




                                                                                                                      15
                                                                                                                                                                              Los Angeles, CA 90067-2905
                                                                                                                      16                                                      Telephone: (424) 330-8580
                                                                                                                                                                              Facsimile: (315) 512-1465
                                                                                                                      17
                                                                                                     TELEPHONE




                                                                                                                      18                                                      Attorneys for Plaintiff Point B, Inc.
                                                                                                                      19
                                                                                                                      20
                                                                                                                      21
                                                                                                                      22
                                                                                                                      23
                                                                                                                      24
                                                                                                                      25
                                                                                                                      26
                                                                                                                      27
                                                                                                                      28
                                                                                                                                                                              2
                                                                                                                                                   PLAINTIFF’S CERTIFICATE OF INTERESTED ENTITIES OR PERSONS
                                                                                                                                                                                                      Case No. 3:23-cv-02934-TSH
                                                                                                                           090321\4\170270220.v1
                                                                                                                                Case 3:23-cv-02934-TSH Document 9 Filed 06/27/23 Page 3 of 3




                                                                                                                       1                                     CERTIFICATE OF SERVICE
                                                                                                                                                           POINT B, INC. v. TWITTER, INC.
                                                                                                                       2
                                                                                                                       3 STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
                                                                                                                       4       At the time of service, I was over 18 years of age and not a party to this
                                                                                                                       5
                                                                                                                         action. I am employed in the County of Los Angeles, State of California. My
                                                                                                                         business address is 2029 Century Park East, Suite 400N, Los Angeles, CA 90067-
                                                                                                                       6 2512.
                                                                                                                       7
                                                                                                                               On June 27, 2023, I served true copies of the following document(s)
                                                                                                                       8 described as PLAINTIFF’S CERTIFICATE OF INTERESTED ENTITIES OR
                                                                                                                       9 PERSONS on the interested parties in this action as follows:
                                                                                                     (315) 512-1465
    D RO GI N L LP




                                                                                                                      10              1505 Corporation                            Authorized Agents for Service of
                                                                                                                      11              C T CORPORATION SYSTEM                      Process for Defendant Twitter,
                                                                LOS ANGELES, CALIFORNIA 90067-2512
                           2029 CENTURY PARK EAST, SUITE 400N




                                                                                                                                      330 N Brand Bvld.                           Inc.
                                                                                                                      12              Glendale, California
                                                                                                     FACSIMILE




                                                                                                                      13
T AR TE R K R I NS K Y &




                                                                                                                                    BY MAIL: I enclosed the document(s) in a sealed envelope or package
                                                                                                                      14 addressed to the persons at the addresses listed in the Service List and placed the
                                                                                                     •




                                                                                                                           envelope for collection and mailing, following our ordinary business practices. I am
                                                                                                     (424) 330-8580




                                                                                                                      15 readily familiar with the practice of Tarter Krinsky & Drogin LLP for collecting
                                                                                                                           and processing correspondence for mailing. On the same day that correspondence is
                                                                                                                      16 placed for collection and mailing, it is deposited in the ordinary course of business
                                                                                                                           with the United States Postal Service, in a sealed envelope with postage fully
                                                                                                                      17 prepaid. I am aware that on motion of the party served, service is presumed invalid
                                                                                                                           if the postal cancellation date or postage meter date is more than one day after the
                                                                                                     TELEPHONE




                                                                                                                      18 date of deposit for mailing as set forth in this Proof of Service.
                                                                                                                      19          I declare under penalty of perjury under the laws of the State of California
                                                                                                                           that the foregoing is true and correct.
                                                                                                                      20
                                                                                                                                    Executed on June 27, 2023, at Los Angeles, California.
                                                                                                                      21
                                                                                                                      22
                                                                                                                      23                                                      /s/ Brooke M. Genser
                                                                                                                      24                                                      Brooke M. Genser

                                                                                                                      25
                                                                                                                      26
                                                                                                                      27
                                                                                                                      28
                                                                                                                                                                              3
                                                                                                                                                   PLAINTIFF’S CERTIFICATE OF INTERESTED ENTITIES OR PERSONS
                                                                                                                                                                                                      Case No. 3:23-cv-02934-TSH
                                                                                                                           090321\4\170270220.v1
